Case 5:21-cr-00088-H-BQ Document 38 Filed 09/29/21 Page 1 of 2 pagelD 80
t me ' .
IN THE UNITED STATES DISTRICT COURT... EEK
FOR THE NORTHERN DISTRICT OF TEXAS “- eet
LUBBOCK DIVISION 2021 SEP 29 PH I: 43

TTA Re my
SN h vey

CASE NO. 5:21-CR-088-H-BQ-1

UNITED STATES OF AMERICA

<
CR UO? CO? WO? CO? WO? COP

ANDREW CHAVARRIA JAQUEZ

REPORT AND RECOMMENDATION ON PLEA
BEFORE THE UNITED STATES MAGISTRATE JUDGE

This case has been referred by the United States district judge to the undersigned
for the taking of a guilty plea. The parties have consented to appear before a United States
magistrate judge for these purposes. This Report and Recommendation on Plea is submitted
to the court under 28 U.S.C. § 636(b)(3).

The defendant appeared with counsel before the undersigned United States
magistrate judge, who addressed the defendant personally in open court and informed the
defendant of, and determined that the defendant understood, the admonitions contained in
Rule 11 of the Federal Rules of Criminal Procedure.

The defendant pleaded guilty (under a written plea bargain agreement with the
government) to Count One of the Indictment, charging defendant with a violation of
18 U.S.C. § 2422(b), that is, Enticement and Attempted Enticement of a Minor. After
examining Defendant under oath the undersigned magistrate judge finds the following:

1. Defendant, upon advice of counsel, has consented orally and in writing

to enter this guilty plea before a magistrate judge, subject to final
approval and sentencing by the presiding district judge;

2. Defendant fully understands the nature of the charges (including each
essential element of the offense(s) charged) and penalties;
 

Case 5:21-cr-00088-H-BQ Document 38 Filed 09/29/21 Page 2of2 PagelD 81

3. Defendant fully understands the terms of the plea agreement and plea
agreement supplement;

4. Defendant understands all constitutional and statutory rights and wishes
to waive these rights, including the right to a trial by jury and the right
to appear before a United States district judge;

5. Defendant’s plea is made freely and voluntarily;

6. Defendant is competent to enter this plea of guilty;

7. There is a factual basis for this plea; and

8. The ends of justice are served by acceptance of the defendant’s plea of

guilty.

Although I have conducted these proceedings and recommend acceptance of
Defendant’s plea of guilty, the United States district judge has the power to review my
actions and possesses final decision-making authority in this proceeding. Thus, if
Defendant has any objections to these findings or any other action of the undersigned, he
is required to make those known to the United States district judge within fourteen (14)
days of today.

Based on the above, I recommend that Defendant’s plea of guilty be accepted, that

Defendant be adjudged guilty, and that sentence be imposed accordingly.

D. /[)e .

UNITED STATES MAGISTRATE JUDGE

Signed September 29, 2021.

 

 
